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                            6                           UNITED STATES DISTRICT COURT
                                                      NORTHERN DISTRICT OF CALIFORNIA
                            7                              SAN FRANCISCO DIVISION
                            8

                            9     UNITED STATES OF AMERICA,
                          10                  Plaintiff,                      CR 05-375 SI
                          11            v.                                    STIPULATION AND ORDER
                                                                              TO TRAVEL OUTSIDE
                          12      JAY CHEN,                                   NORTHERN DISTRICT
                          13                Defendant.
                                  ______________________________/
                          14

                          15            THE PARTIES HEREBY STIPULATE AND AGREE that defendant JAY
                          16      CHEN may travel outside the Northern District of California to
                          17      Reno, Nevada, from February 11 to February 13, 2005.            Defendant
                          18      shall provide Pretrial Services a copy of his itinerary and a
                          19      telephone number where he may be reached.          Pretrial Services
                          20      Officer Betty Kim has no objection to this request.
                          21            Dated:   February 7, 2006
                          22

                          23         /s/ ANDREW SCOBLE                       /s/ OMAR FIGUEROA
                                  ANDREW SCOBLE                             OMAR FIGUEROA
                          24      Assistant U.S. Attorney                   Attorney for Defendant
                          25

                          26            IT IS SO ORDERED.
                          27
P IE R 5 L A W O F F IC E S
    506 B R O A DW A Y
                                                                      SUSAN ILLSTON, Judge
    SAN FR AN C ISC O       28                                        United States District Court
      (415) 986-5591
   FAX : (415) 421-1331
